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                                 No. 23-15285
       ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 11, 2023

                                     IN THE
                  United States Court of Appeals
                       for the Ninth Circuit

              IN RE GOOGLE PLAY STORE ANTITRUST LITIGATION
                  MARY CARR, ET AL. V. GOOGLE LLC, ET AL.


                         Interlocutory Appeal from the
       United States District Court for the Northern District of California
                       No. 21-md-2981; No. 20-cv-5761
                          District Judge James Donato

   REPLY IN SUPPORT OF APPELLANTS’ MOTION FOR LIMITED
  REMAND UNDER FEDERAL RULE OF APPELLATE PROCEDURE
12.1(b) AND TO REMOVE THIS CASE FROM THE ORAL ARGUMENT
              CALENDAR FOR SEPTEMBER 11, 2023

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August 29, 2023


                  (Additional Counsel Listed on Signature Page)
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1(a), Defendants-

Appellants state as follows:

      Google LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of

Alphabet Inc., a publicly traded company; no publicly traded company holds more

than 10% of Alphabet Inc.’s stock.

      Google Payment Corp. is a subsidiary of Google LLC. Google LLC is a

subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a publicly

traded company; no publicly traded company holds more than 10% of Alphabet

Inc.’s stock.

      Google Commerce Ltd. is an indirect subsidiary of Google LLC. Google LLC

is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.

      Google Ireland Limited is an indirect subsidiary of Google LLC. Google LLC

is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.

      Google Asia Pacific Pte. Ltd. is an indirect subsidiary of Google LLC. Google

LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc.,



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a publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.

                                              /s/ Neal Kumar Katyal
                                              Neal Kumar Katyal




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      The parties agree on what should happen in this Court now: This Court should

issue a limited remand, with this Court retaining jurisdiction, under Federal Rule of

Appellate Procedure 12.1, and it should remove the case from the imminent

September 11, 2023 argument calendar.

      Plaintiffs indicate (at 1) that, on remand, they will ask the District Court to

exercise “discretion after hearing from the parties” to diverge from the District

Court’s indicative ruling in the “Order re Decertification and Class Notice,” where

it stated that “the order granting certification should be vacated.” ECF 589. But the

plain language of the District Court’s indicative ruling is a clear expression of the

District Court’s intent as to how it would rule if it had authority to do so, and this

Court should issue a limited remand order so that the District Court can take action

consistent with that clear intention. Given Plaintiffs’ suggestion that they may

oppose decertification, the Court should also retain jurisdiction as contemplated by

Rule 12.1 until the District Court has ruled.

      In addition, Google disagrees with Plaintiffs’ suggestion (at 2) that this Court

should dismiss this appeal “[o]nce the District Court takes further steps in

accordance with its orders” unless the further step taken by the District Court is to

decertify the class. This Court does not need to take up the question of next steps in

this appeal, however, until the District Court has ruled and Google has notified this

Court of the ruling. See Fed. R. App. P. 12.1(b) (discussing this procedure).



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                                  CONCLUSION

      For the foregoing reasons, and those in Google’s motion, Google respectfully

requests that this Court issue a limited remand, while retaining jurisdiction, so that

the District Court can decertify the class as contemplated by its August 28, 2023,

order. Google also requests that this Court remove this case from the upcoming oral

argument calendar set for Monday, September 11, 2023.

                                              Respectfully submitted,

August 29, 2023                               /s/ Neal Kumar Katyal

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                       CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitations of Federal Rule of

Appellate Procedure 27(d)(2)(C) and 9th Circuit Rule 27-1 because it contains

317 words, excluding the parts of the motion exempted by Federal Rule of Appellate

Procedure 27(a)(2)(B).

      This motion complies with the typeface and typestyle requirements of Federal

Rule of Appellate Procedure 27(d)(1)(E) because it has been prepared in a

proportionally spaced typeface using Microsoft Word for Office 365 in Times New

Roman 14-point font.

                                            /s/ Neal Kumar Katyal
                                            Neal Kumar Katyal
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                         CERTIFICATE OF SERVICE

      I certify that on August 29, 2023, the foregoing was electronically filed

through this Court’s CM/ECF system, which will send a notice of filing to all

registered users.

                                             /s/ Neal Kumar Katyal
                                             Neal Kumar Katyal
